






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00381-CR







Jesus Mercado, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF CALDWELL COUNTY, 274TH JUDICIAL DISTRICT


NO. 2003-012, HONORABLE TODD A. BLOMERTH, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



A jury found appellant Jesus Mercado guilty of two counts of sexual assault of a
child.  See Tex. Penal Code Ann. § 22.011 (West Supp. 2006).  The jury assessed punishment for
each count at thirty-five years' imprisonment.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are
no&nbsp;arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  Appellant received a copy of counsel's brief and was advised of his right
to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The judgment of conviction is affirmed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Affirmed

Filed:   July 27, 2007

Do Not Publish


